Case 1:25-cv-00916-JDB   Document 1-4   Filed 03/28/25   Page 1 of 4




       EXHIBIT 4
          Case 1:25-cv-00916-JDB               Document 1-4          Filed 03/28/25         Page 2 of 4



President Donald J. Trump Adresses Risks from Perkins
Coie LLP
   whitehouse.gov/fact-sheets/2025/03/fact-sheet-president-donald-j-trump-adresses-risks-from-perkins-coie-llp

                                                                                                         March 6, 2025




Fact Sheets


Fact Sheet: President Donald J. Trump Addresses Risks from
Perkins Coie LLP
STOPPING ABUSES THAT UNDERMINE THE NATION: Today, President Donald J. Trump
signed an Executive Order to suspend security clearances held by individuals at Perkins
Coie LLP, pending a review of whether their access to sensitive information is consistent with
the national interest.

      Security clearances held by Perkins Coie LLP employees will be immediately
      suspended, pending a review of whether their access to sensitive information is
      consistent with the national interest.
           The Federal Government will halt all material and services, including sensitive
           compartmented information facility (SCIF) access provided to Perkins Coie LLP
           and restrict its employees’ access to government buildings.
           Federal Agencies will also refrain from hiring Perkins Coie LLP employees unless
           specifically authorized.




                                                                                                                         1/3
         Case 1:25-cv-00916-JDB       Document 1-4      Filed 03/28/25    Page 3 of 4

     To ensure taxpayer dollars no longer go to contractors whose earnings subsidize
     partisan lawsuits against the United States, the Federal Government will prohibit
     funding contractors that use Perkins Coie LLP.
           All Federal Government contracts with Perkins Coie LLP will undergo rigorous
           scrutiny, with agency heads directed to terminate engagements to the maximum
           extent permitted by law.
     The practices of Perkins Coie LLP will be reviewed under Title VII to ensure
     compliance with civil rights laws against racial bias.

ENSURING GOVERNMENT SERVES THE AMERICAN PEOPLE: President Trump’s
Administration will not tolerate Perkins Coie LLP’s unethical and discriminatory actions that
threaten our elections, military strength, and national security.

     In 2016, Perkins Coie LLP hired Fusion GPS to manufacture a false “dossier” designed
     to steal an election while representing failed presidential candidate Hillary Clinton.
     Perkins Coie LLP pushed debunked claims of secret Trump-Russia communications
     via Alfa Bank, with attorney Michael Sussmann indicted for lying to the FBI about this
     scheme.
     Perkins Coie LLP has worked with activist donors, including George Soros, to judicially
     overturn enacted election laws, such as those requiring voter identification.
            A court was forced to sanction Perkins Coie attorneys for unethical lack of candor
            before the court.
     Perkins Coie LLP has been accused of racially discriminating against its own attorneys,
     staff, and applicants.
            Perkins Coie has publicly announced racial percentage quotas for hiring and
            promotions, violating civil rights laws, and excluded applicants from fellowships
            based on race until lawsuits forced change.
     Perkins Coie LLP hosted an FBI workspace, raising concerns about partisan misuse of
     sensitive data during investigations targeting President Trump.
     Perkins Coie LLP has filed lawsuits against the Trump Administration, including one
     designed to reduce military readiness.

A RETURN TO ACCOUNTABILITY: President Trump is delivering on his promise to end the
weaponization of government and protect the nation from partisan actors who exploit their
influence.

     President Trump is refocusing government operations to their core mission—serving
     the citizens of the United States.
     President Trump signed an Executive Order to end the weaponization of the Federal
     Government on his first day in office after promising to “end forever the weaponization
     of government and the abuse of law enforcement against political opponents.”




                                                                                                 2/3
   Case 1:25-cv-00916-JDB        Document 1-4      Filed 03/28/25    Page 4 of 4

President Trump revoked security clearances held by dozens of intelligence officials
who falsely claimed in a 2020 letter, during the height of the U.S. presidential election
season, that Hunter Biden’s laptop was tantamount to Russian disinformation.




                                                                                            3/3
